              Case: 1:19-cv-00825 Document #: 60 Filed: 09/07/21 Page 1 of 5 PageID #:422




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


        United States of America,
        ex rel. Patrick Lupinetti,

                                          Plaintiff,

                               v.                                    No. 1:19-cv-00825
                                                                  Judge Thomas M. Durkin
        Exeltis USA, Inc., et al.,

                                       Defendants.


                                Defendants’ Joint Response to Plaintiff’s Surreply
                        in Support of Their Motion to Dismiss the First Amended Complaint

                 The Government’s Statement of Interest (“Government Statement”) (ECF No. 55) and the

       Seventh Circuit’s decision in United States ex rel. Schutte v. SuperValu Inc., No. 20-2241, 2021

       WL 3560894 (7th Cir. Aug. 12, 2021) each independently confirms that Relator has no viable

       False Claims Act claims.

              1. The Government Statement Confirms This Case Should Be Dismissed.

                 The Government Statement confirms the fundamental points emphasized in Defendants’

       briefing: namely, statements about Defendants’ products being “prescription” prenatal vitamins

       are not false, not material, and not made with scienter. This is because, as the Government

       Statement explains, “CMS is the agency charged with determining whether prescription prenatal

       vitamins are covered under the MDRP,” and CMS’s decisions to “cover[] and pay[] for

       prescription prenatal vitamins are separate from decisions made by other agencies, including the

       FDA, about the approval and classification of prenatal vitamins.” Government Statement at 4.




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106694685_1
              Case: 1:19-cv-00825 Document #: 60 Filed: 09/07/21 Page 2 of 5 PageID #:423




                The Government Statement goes on to detail “how [CMS] has interpreted and applied

       Congress’s requirement that Medicaid provide coverage for ‘prescription prenatal vitamins,’”

       explaining that CMS has clearly distinguished “between non-prescription over-the-counter

       prenatal vitamins, which are not subject to coverage under the MDRP, and prescription prenatal

       vitamins, which are.” Government Statement at 3. The Government Statement also reiterates how

       CMS has established a specific code—“Code 7”—“which signifies that a product is a prescription

       prenatal vitamin or fluoride.” Id. Relator’s Surreply itself acknowledges this clear guidance

       establishes that “‘Prescription’ must mean something,” given the undisputed fact that prenatal

       vitamins are not FDA approved and need not be FDA approved to be covered by CMS. Surreply

       at 4 (ECF No 59). Defendants agree. CMS has clearly approved the sale of “prescription prenatal

       vitamins,” which are expressly accepted as a Covered Outpatient Drugs (“COD”) by CMS, given

       the appropriate CMS-approved code, and designated as such in manufacturers’ rebate agreements

       with CMS. 1 Whereas Defendants’ statements at issue in this case are entirely consistent with

       CMS’s regulatory framework and guidance, Relator’s theory would have CMS’s approval of

       “prescription prenatal vitamins” mean nothing. 2

                The Government Statement confirms this case should be dismissed with prejudice.




       1 The Government Statement further explains that the factors necessary for payment are all separate from
       FDCA prescription status. “[F]or payment to be available for CODs, drug manufacturers must enter into a
       qualifying national rebate agreement with CMS” and “[w]hen requesting a rebate agreement . . . a manu-
       facturer must identify information for the specific products that will be subject to the agreement, including
       the COD status.” Government Statement at 2, 3. Each of the Defendants has signed national rebate agree-
       ments with CMS, thus CMS accepted that their products qualify as Covered Outpatient Drugs.

       2 Realtor also states that other entities—besides the government—rely on Defendants’ statements about
       their products. Surreply at 5. But the FCA is limited to false statements that lead to claims for payment
       from the government. Plaintiff has alleged nothing to suggest that any statements to third parties resulted
       in any false claims to the government, nor could Relator make that allegation in light of CMS’s clear regu-
       latory framework outlined in the Government Statement and Defendants’ briefing.

                                                            2
106694685_1
              Case: 1:19-cv-00825 Document #: 60 Filed: 09/07/21 Page 3 of 5 PageID #:424




              2. Relator Has Not Plausibly Plead Scienter As Required by Schutte.

                 The Seventh Circuit’s decision in Schutte also confirms that Relator has not sufficiently

       pled scienter. Defendants’ motion (pages 4-7, 10 and fns. 4 and 5) identifies the objectively

       reasonable basis for Defendants sales and labelling practices. As the Government’s Statement

       affirms, there is clear, continued, and authoritative guidance from the paying agency that

       Defendants may sell their prescription prenatal vitamins for Medicaid reimbursement. See

       Government Statement ; accord Motion to Dismiss at 4-7, 10 (ECF No. 47). This case thus falls

       squarely within Schutte’s holding: not only did Defendants have an “objectively reasonable

       understanding,” but CMS’s authoritative guidance also confirmed Defendants’ understanding of

       the law. Schutte, 2021 WL 3560894. at *12.

                 Relator nonetheless argues that Schutte “has limited applicability in this context” because

       the labeling regulations require the “Rx Only” marking for prescription drugs, and there was

       “‘authoritative guidance’ warning against the improper use of the ‘Rx only’ marking,” citing an

       unrelated FDA docket. Surreply 1–3. But Relator never rebuts the CMS (and FDA) historical

       guidance and treatment of Defendants’ products, nor cites a single CMS regulation that even

       suggests this issue is relevant to the payment decision (and the Government’s Statement confirms

       the opposite). Thus, Relator does not allege that any Defendant had the scienter needed in an FCA

       case—scienter to submit a false claim for payment. 3

                                                   CONCLUSION

                 The Court should dismiss the amended complaint with prejudice.



       3 Finally, Relator attempts to distinguish Schutte because it was decided on summary judgment. Surreply
       3. But Schutte established that “the scienter standard articulated in Safeco applies to the FCA,” 2021 WL
       3560894, at *1, and this standard applies regardless of the stage of litigation. Def. Reply 15. The fact that
       discovery occurred in Schutte does not mean discovery is needed here, where Relator’s complaint itself
       fails to meet the legal standard for scienter established by Schutte.

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106694685_1
              Case: 1:19-cv-00825 Document #: 60 Filed: 09/07/21 Page 4 of 5 PageID #:425




       September 7, 2021                              Respectfully submitted,

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                                                  4
106694685_1
              Case: 1:19-cv-00825 Document #: 60 Filed: 09/07/21 Page 5 of 5 PageID #:426




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